         Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 1 of 16



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17                                 UNITED STATES DISTRICT COURT
18                                NORTHERN DISTRICT OF CALIFORNIA
19                                    SAN FRANCISCO DIVISION
20   IN RE RESISTORS ANTITRUST                         Case No. 3:15-cv-03820-JD
     LITIGATION
21
                                                       JOINT DISCOVERY PLAN
22   This Documents Relates to:                        PURSUANT TO RULE 26(f)
23   DIRECT PURCHASER ACTIONS
24

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     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 2 of 16



 1             Direct Purchaser Plaintiffs (“DPPs”) and Walsin Technology Corporation (“WTC”)

 2   respectfully submit this Joint Discovery Plan pursuant to Rule 26(f)(2)-(3) of the Federal Rules of

 3   Civil Procedure. DPPs and WTC held a Fed R. Civ. P. 26(f) conference by telephone on December

 4   27, 2017. On that call, the parties discussed a discovery plan that included both WTC and Walsin

 5   Technology Corporation U.S.A. (“Walsin USA”), WTC’s U.S. subsidiary. For the purposes of this

 6   Joint Discovery Plan Pursuant to Rule 26(f), WTC and Walsin USA are referred to collectively as

 7   the “Walsin Defendants” or “Walsin.”

 8                                       I.       PRELIMINARY STATEMENTS

 9   A.        DPPs’ Statement

10             The main – and a critical – area of disagreement between the parties is that DPPs propose a

11   discovery plan that includes specific dates by when important WTC discovery will be complete. That

12   is consistent with prior agreements with the other defendants, and it will ensure that the case against

13   the Walsin Defendants proceeds in line with the stipulated case schedule ordered by the Court. See

14   ECF No. 347 (ordering stipulated schedule in ECF No. 336 and reflecting deadlines for, inter alia,

15   plaintiffs’ and defendants’ class certification expert reports, expert discovery, and motions for class

16   certification). Moreover, there is no legitimate justification for why WTC cannot agree to deadlines

17   (generally, or the specific ones proposed by DPPs here). The only basis for refusing to set discovery

18   deadlines is to delay discovery and unnecessarily disrupt the current case schedule. DPPs will be

19   prepared to discuss their proposed schedule with the Court at the January 18 Case Management

20   Conference.

21             In DPPs/Walsin USA’s Joint Discovery Plan submitted on December 18, 2017 (ECF No.

22   356), DPPs provided background on our efforts to move discovery forward with Walsin. See ECF

23   No. 356 at 1-2. Since October 3, 2017, when DPPs named WTC and Walsin USA as defendants in

24   DPPs’ operative Second Consolidated Amended Class Action Complaint (Complaint), DPPs have

25   attempted to work with the Walsin Defendants on a discovery plan.

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     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                         -1-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 3 of 16



 1              Walsin, however, has impeded those efforts. WTC is the parent corporation of the Kamaya

 2   Defendants.1 The Walsin Defendants also are represented by the same counsel. But during fall 2017

 3   (i) the Walsin Defendants delayed returning executed waiver of service of summons forms after

 4   agreeing to waive service on October 18, 2017; (ii) WTC refused to participate in a December 4,

 5   2017 Rule 26(f) conference because the Walsin Defendants had only returned Walsin USA’s waiver

 6   form by that point; and (iii) despite DPPs’ requests on that call and by email, Walsin has refused to

 7   agree to a discovery plan with specific discovery deadlines that apply to WTC. Indeed, the only

 8   reason the parties are submitting this separate discovery plan in addition to the one submitted on

 9   December 18, 2017 (ECF No. 356) is because Latham & Watkins LLP, counsel to both Walsin USA

10   and WTC (as well as the Kamaya Defendants) refused to participate in the December 4, 2017 Rule

11   26(f) conference on behalf of WTC.

12              During the December 27, 2017 Rule 26(f) conference call between DPPs and WTC, the

13   parties discussed certain discovery topics. But again WTC would not confer with DPPs about the

14   dates by when important discovery would be complete, including many of the dates proposed by

15   DPPs in the December 18, 2017 joint discovery plan. Perhaps most crucial is the date by when WTC

16   will produce transactional data, which is relevant to DPPs’ class certification expert report, due on

17   July 5, 2018. DPPs’ proposed January 31, 2018 deadline for WTC to complete its production of

18   transactional data is important to the analysis of DPPs’ expert. The deadline is also reasonable

19   because it falls: (i) four months after DPPs filed the operative Complaint naming the Walsin

20   Defendants; (ii) several months after DPPs explained to Walsin Defendants that the data they seek is

21   the same as what was requested from and produced by the other defendants, including the Kamaya

22   Defendants; and (iii) after the date that Walsin Defendants are required to respond to properly served

23   document requests that seek, among other things, WTC’s transactional data.

24              Walsin has refused even to discuss discovery dates for WTC until after its objections and

25   responses to document requests are served on January 18 and January 26, 2018 (for Walsin USA and

26   WTC, respectively). There is no legitimate basis for waiting until those dates to discuss when the

27
          1
28            Kamaya Electric Co., Ltd. and Kamaya, Inc.
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                         -2-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 4 of 16



 1   Walsin Defendants’ documents and data will be produced. Doing so only invites further and

 2   unnecessary delay.

 3              The Walsin Defendants misleadingly suggest that DPPs’ proposed deadlines are unfair

 4   because discovery was not served on them until December 20, 2017 and December 27, 2017 (for

 5   Walsin USA and WTC respectively). They omit that, in Fall 2017, after DPPs served the Complaint

 6   on October 3, 2017 naming the Walsin Defendants, DPPs repeatedly explained to Walsin counsel

 7   that we sought the same types of data and documents produced by the other Defendants – including

 8   Kamaya – and suggested meeting and conferring to ensure their efficient production. 2 Walsin refused

 9   to do so. The Walsin Defendants could and should have used the more than three months between

10   the filing of DPPs’ Complaint and the present to investigate the availability of relevant documents

11   and data, and to collect and review those documents and data in preparation for their production.

12   Now Walsin seeks to use the delay it caused as an excuse not to agree to reasonable deadlines for

13   production of data and documents. Putting aside the smoke and mirrors, what is relevant is whether

14   the discovery deadlines proposed by DPPs for Walsin are efficient, proportionate, and will move the

15   case forward in line with the stipulated schedule ordered by this Court. As explained above, they are

16   and they will.

17              Similarly, Walsin’s attempts to accuse DPPs of delay by naming the Walsin Defendants later

18   than the other Defendants are unavailing. The Walsin Defendants were named in the operative

19   Complaint because discovery produced and reviewed after the filing of DPPs’ original consolidated

20   amended complaint showed Walsin’s important role in the price-fixing conspiracy. For example,

21   documents produced reveal Michael Chang – WTC’s Vice President and Chief Strategy Office –

22   explaining to subordinates that Kiyoshi Niikawa (Kamaya Electric’s sales headquarter manager and

23   overseas sales head) “will sometimes have informal meetings with KOA and Hokuriku to discuss

24   industry trend, demand supply status and price.” 3 WTC’s Chang added that, in setting prices for a

25
          2
          DPPs also sent documents requests to Walsin counsel – mirroring those sent to the other
26   Defendants (including their Kamaya subsidiaries) – on December 13, 2017. But for the Walsin
     Defendants’ unnecessary delay in returning their waiver of service of summons forms, DPPs would
27   have formally served the Walsin Defendants with discovery requests weeks and months prior.
          3
28            Complaint, ¶ 104.
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                        -3-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 5 of 16



 1   customer, “we need to know whether other Japanese competitors are doing price up.” 4 These

 2   allegations, and others reflected in the Complaint and the documents DPPs have reviewed, implicate

 3   Walsin in the conspiracy and show why DPPs added the Walsin Defendants on October 3, 2017.

 4              In light of the above, DPPs’ proposed discovery schedule sets reasonable deadlines for the

 5   Walsin Defendants’ production of data and documents. For example, DPPs request production of

 6   transactional data from WTC by January 31, 2018 – four months after DPPs named WTC in the

 7   Complaint – and after WTC must respond to DPPs’ discovery requests. 5

 8              DPPs will be prepared to discuss their proposed schedule with the Court at the January 18

 9   Case Management Conference and hopefully resolve dates at that time.

10   B.         Walsin Technology Corporation’s Statement

11              Contrary to DPPs’ argument, Walsin Defendants have met every deadline, and there have

12   been no delays in this case other than DPPs’ more than two-year delay in naming WTC and Walsin

13   USA as Defendants.6

14              In fact, Walsin Defendants have responded in less time than the Federal Rules of Civil

15   Procedure (the “Rules”) provide:

16              1.      Both Walsin USA and WTC executed their waivers of service of summons prior to

17                      the deadlines set forth in Federal Rule of Civil Procedure 4(d). Walsin USA executed

18                      and returned its waiver of service on November 21, 2017—six days prior to its

19                      deadline to submit its waiver of service of summons. WTC executed and returned its

20

21        4
              Id.
22        5
          On the day this Joint Discovery Plan was due, WTC for the first time proposed deadlines for
     certain discovery. DPPs appreciate this development, although these dates should have been
23   proposed earlier, such as at the Rule 26(f) Conferences. Nevertheless, WTC’s proposed discovery
     schedule continues to omit deadlines for multiple critical discovery matters, including any deadline
24   by which it will produce transactional data. Moreover, several other deadlines that WTC proposes
     would cause unnecessary delay.
25        6
           DPPs argue that “discovery produced and reviewed after the filing of DPPs’ original
26   consolidated amended complaint showed Walsin’s important role in the price-fixing conspiracy” and
     justify why DPPs waited until October 3, 2017 to add Walsin Defendants to the present litigation.
27   Their argument now is misleading. The truth is DPPs notified Kamaya Defendants of this cited
     document on December 20, 2016, but DPPs then waited more than ten months to file and name the
28   Walsin Defendants in their Second Amended Complaint.
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                         -4-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 6 of 16



 1                      waiver of service of summons on December 22, 2017—four days prior to its deadline

 2                      to submit the waiver of service of summons.

 3                 2. Walsin USA timely met and conferred with Plaintiffs pursuant to Rule 26(f) on

 4                      December 4, 2017. WTC timely met and conferred with DPPs pursuant to Rule 26(f)

 5                      on December 27, 2017.

 6   Walsin Defendants are neither seeking to delay discovery nor attempting to disrupt the current case

 7   schedule.7 DPPs waited more than two years to name WTC and Walsin USA as Defendants, and

 8   their frustration with the class certification schedule is of their own making.

 9             In this Rule 26(f) report, DPPs’ chief complaint appears to be that WTC indicated on the

10   December 27, 2017 Rule 26(f) conference that the parties should follow the time periods for

11   discovery set forth in the Federal Rules of Civil Procedure. DPPs objected that Walsin Defendants

12   would not meet and confer during the Rule 26(f) conference regarding discovery requests that DPPs

13   had not yet served on WTC and Walsin USA. WTC said it would timely respond to any discovery

14   requests after DPPs actually served them on WTC, and DPPs’ delay in naming WTC and Walsin

15   USA as Defendants should not operate to deny them the time allowed to all parties to respond and

16   object to discovery requests.8 Thus, DPPs’ claim that “WTC would not confer with DPPs about the

17   dates by when important discovery would be complete” is incorrect. Specifically:

18             First, WTC identified the date by which it would serve written objections and responses to

19   DPPs’ first set of requests for production to be due: January 26, 2018. Second, WTC said it would

20
          7
          Only DPPs have requested an extension of any deadline pertaining to matters affecting Walsin
21   Defendants’ discovery or case schedule. Though DPPs claim that Walsin Defendants are engaging
     in unnecessary delay, it was DPPs who requested additional time to respond to Walsin USA’s
22   motion to dismiss, which this Court granted. See Order Granting Stipulation to Extend Briefing
     schedule re: Walsin Technology Corporation U.S.A.’s Motion to Dismiss, ECF No. 370.
23        8
           Pursuant to Federal Rule of Civil Procedure 26(d)(1), “[a] party may not seek discovery from
24   any source before the parties have conferred as required by Rule 26(f).” Nevertheless, DPPs argue
     that: (1) after filing their Second Amended Complaint, “DPPs repeatedly explained to Walsin
25   counsel that we sought the same types of data and documents produced by the other Defendants . . .
     and suggested meeting and conferring to ensure their efficient production;” and (2) that “[t]he Walsin
26   Defendants could and should have used the more than three months between the filing of DPPs’
     Complaint and the present to investigate the availability of relevant documents and data.” Though
27   DPPs lacked any basis to make these demands, Walsin Defendants nonetheless did use this time to
     investigate the availability of relevant documents and data and were subsequently in a position to
28   meet and confer with DPPs immediately after they were properly served.
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                         -5-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 7 of 16



 1   produce its organizational charts within one week of serving its written responses and objections:

 2   February 2, 2018. Third, WTC stated it was already looking into the scope of its transactional data

 3   and would provide an estimated timeline for production at the same time it served written objections

 4   and responses to DPPs’ request seeking transactional data: again, January 26, 2018. And, fourth,

 5   WTC promised to immediately meet and confer with DPPs regarding its production of both

 6   transactional data and other centralized files, and to begin producing such files after serving written

 7   objections and responses. As set forth in the Proposed Schedule chart on pages 7-11, below, WTC

 8   (and Walsin USA) have also proposed many additional deadlines for the completion of the

 9   negotiations and the meet and confer process.

10             WTC’s proposal allows DPPs to remain on the current class certification schedule. It is true

11   that WTC did not specify a date certain for producing its transactional data, but that is because WTC

12   is still investigating the scope of the data that it has available and the burden associated with

13   collecting and producing that data.9 Further, with respect to the selection of document production

14   custodians and search terms, WTC indicated that it was unclear in light of the lack of allegations

15   about WTC in DPPs’ Second Consolidated Amended Class Action Complaint (“SAC”) that any

16   document production from WTC beyond the production of transactional data would be appropriate. 10

17   WTC also suggested that DPPs should begin preparing a proposed custodian list now, which DPPs

18   can do based on the extensive document productions produced to date by other Defendants in this

19   case.11 WTC will be prepared to timely meet and confer with DPPs regarding the selection of

20   custodians and search terms following the service of WTC’s written objections and responses, but

21   DPPs should also put forward some effort to move discovery forward.

22

23
          9
24       Walsin USA has explained on multiple occasions (including when responding to DPPs’ Rule 45
     subpoena in January 2017) that Walsin USA has no transactional data. Since at least October 2005,
25   Walsin USA has not manufactured, sold, marketed, or distributed any resistors. Walsin USA has no
     documents or data available pre-dating October 2005.
26        10
           WTC is not alleged to have participated in any conspiratorial conduct, and WTC will be filing
     a motion to dismiss on or before January 25, 2018—the date its response to the SAC is due.
27        11
           Walsin Defendants understand that the other Defendants in this case have already produced
28   nearly 2.5 million documents to Direct Purchaser Plaintiffs.
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                        -6-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 8 of 16



 1             Finally, WTC proposed during the Rule 26(f) conference that stipulations previously entered

 2   by the parties regarding discovery also apply to WTC. Walsin USA made the same proposal during

 3   its Rule 26(f) conference on December 4, 2017. DPPs never responded to either proposal until they

 4   sent WTC their section of the draft Rule 26(f) report. Walsin Defendants believe that the parties

 5   should be able to work together to draft a stipulation for the Court’s approval before Walsin

 6   Defendants’ discovery responses are due this month.

 7                                               II.   DISCOVERY PLAN

 8   A.        Schedule

 9             1.       DPPs’ Statement

10             As explained above, DPPs propose a schedule that we believe is not unduly burdensome and

11   would allow the case against the Walsin Defendants to proceed in line with the stipulated case

12   schedule ordered by the Court. See ECF No. 347. Particularly important is the January 31, 2018 date

13   by when DPPs propose that the Walsin Defendants produce transactional data, relevant for DPPs’

14   class certification expert report, which is due on July 5, 2017. The January 31 deadline should not be

15   unduly burdensome given that (i) the Walsin Defendants were named as Defendants on October 3,

16   2017, four months prior to that date, and (ii) the Walsin Defendants will have the benefit of their

17   counsel’s more than two years of experience in this litigation as counsel for Kamaya, including their

18   knowledge of the data and documents requested by DPPs, as well as several orders by this Court

19   outlining the appropriate contours of discovery (including of transactional data).

20             Other key deadlines include the dates for production of central file documents, often relevant

21   to class certification. Deadlines for the identification of Walsin Defendants’ document custodians

22   and the production of custodial documents are also important. Given that search term negotiations

23   have been concluded with all defendants, including Kamaya, the parties should be able to complete

24   this process expeditiously.

25             To distract from their own delay, and the reasonableness of DPPs’ proposed deadlines, the

26   Walsin Defendants make several false claims. They play down efforts DPPs have made to move

27   discovery forward. For example, DPPs requested that WTC produce organizational charts now –

28   which should be easy to locate – to help with identification of custodians. Walsin refused to do that.
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                          -7-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 9 of 16



 1   Nonetheless, DPPs are reviewing the documents produced by other Defendants to identify

 2   custodians. DPPs also have provided the search terms agreed to with Kamaya to a Chinese-language

 3   translator so they can be used for WTC, a Taiwanese corporation. DPPs plan to provide these

 4   proposed search terms to Walsin soon. Walsin also suggests that it should produce data and

 5   discovery on “a timeline of relatively parity to other Defendants in this case.” The Walsin

 6   Defendants ignore that (i) the earlier schedule included time for discovery protocols and search terms

 7   to be negotiated for this case, but the parties now have the benefit of established protocols and search

 8   terms already agreed to with the other Defendants (including Kamaya); (ii) the earlier schedule built

 9   in time for the Court to resolve disputes about the scope of documents and data that had to be

10   produced, such as worldwide data, which have now been resolved; and (iii) the Walsin Defendants

11   will have the benefit of their counsel’s more than two years of experience in this litigation as counsel

12   for Kamaya.

13             The only real question is whether the schedule proposed by DPPs is efficient, proportionate,

14   and consistent with stipulated schedule ordered by this Court. It is, for the reasons explained. By

15   contrast, the Walsin Defendants’ refusal to provide dates by when discovery will be complete and

16   proposal of deadlines that are unnecessarily dilatory threatens to delay the progress of this litigation.

17             2.       Walsin Technology Corporation’s Statement

18             As explained above, and as noted in the Joint Discovery Plan Pursuant to Rule 26(f)

19   regarding Walsin USA (ECF No. 356) (the “Walsin USA Discovery Plan”), Walsin Defendants seek

20   to engage in discovery in: (1) a manner consistent with the Federal Rules of Civil Procedure; and

21   (2) a timeframe of relative parity to other Defendants in this case. See, e.g., Walsin USA Discovery

22   Plan at 9 n.14-16; 10 n. 17-19 (noting that DPPs seek to complete Walsin Defendants’ discovery in a

23   matter of two to three months, when other Defendants in the case have had well over one year to

24   complete discovery).

25             Walsin Defendants should not be penalized because of DPPs’ decision to wait and then add

26   them as Defendants more than two years after first filing this case. DPPs’ first sets of discovery

27   requests (interrogatories and requests for production) were served on Walsin USA and WTC on

28   December 20 and December 27, 2017, respectively. DPPs propose that Walsin Defendants should
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                        -8-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 10 of 16



 1   have no more than 35 days from the date of service of their discovery requests to meet and confer

 2   and then complete the production of their transactional data. All other Defendants had nearly seven

 3   months after filing their motions to dismiss to produce their transactional data—DPPs’ schedule

 4   would give WTC only five days after its motion to dismiss is due. DPPs also propose that Walsin

 5   Defendants complete their rolling custodial document productions within three months of service of

 6   the discovery requests, when the other Defendants had nearly eleven months after filing their

 7   motions to dismiss to produce their transactional data. DPPs’ proposed dates are not realistic and

 8   likely are impossible.12

 9             To be clear, Walsin Defendants are not asking for the same amount of time that other

10   Defendants were given. Walsin Defendants only ask for a chance to review the discovery requests,

11   respond in writing, and begin negotiations with Plaintiffs to determine a mutually agreeable

12   discovery schedule. This request is reasonable and fair in light of DPPs’ two-year delay in naming

13   Walsin Defendants in this lawsuit.

14             3.       Proposed Schedule

15
                                                                            Walsin Defendants’ Proposed
16                                                      DPPs’ Proposed
                            Event                                                Dates (if different)
                                                            Date
17
       Initial disclosures with Walsin USA             December 26, 2017    December 26, 2017 (completed)
18     exchanged                                       (completed)

19     Initial disclosures with WTC exchanged          January 10, 201813   January 12, 201814

20        12
           DPPs note the case schedule for the other Defendants: (1) “included time for discovery
21   protocols and search terms to be negotiated for this case, but the parties now have the benefit of
     established protocols and search terms already agreed to with the other Defendants;” (2) “built in
22   time for the Court to resolve disputes about the scope of documents and data that had to be produced,
     such as worldwide data, which have now been resolved;” and (3) “the Walsin Defendants will have
23   the benefit of their counsel’s more than two years of experience in this litigation as counsel for
     Kamaya.” These arguments ignore the fact each Defendant negotiated its own set of search terms
24   and engaged in individual discovery negotiations with DPPs.
          13
           Federal Rule of Civil Procedure 26(a)(1)(C) required WTC to make its initial disclosures by
25   January 10, 2018, “within 14 days after the parties 26(f) conference” on December 27, 2017. WTC
     did not do so. It is apparently relying on Rule 26(a)(1)(D), but that does not apply where a 26(f)
26   conference was actually held, as it was in this case.
          14
27         Per Federal Rule of Civil Procedure 26(a)(1)(D), a “party that is first served or otherwise
     joined after the Rule 26(f) conference must make the initial disclosures within 30 days after being
28   served or joined.” WTC intends to serve its initial disclosures within this timeframe.
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                            -9-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 11 of 16



 1
                                                                          Walsin Defendants’ Proposed
 2                                                      DPPs’ Proposed
                            Event                                              Dates (if different)
                                                            Date
 3
       Walsin USA produces organizational              January 12, 2018   January 12, 2018
 4     charts, if any

 5     Walsin USA’s Responses to DPPs’ First           January 19, 2018   January 19, 2018
       Set of Requests for Production of
 6     Documents to Walsin Defendants, and
       Walsin USA’s Responses to DPPs’ First
 7     Set of Interrogatories to Walsin
       Defendants
 8
       WTC’s Responses to DPPs’ First Set of           January 26, 2018   January 26, 2018
 9     Requests for Production of Documents to
       Walsin Defendants, and WTC’s
10     Responses to DPPs’ First Set of
       Interrogatories to Walsin Defendants
11
       WTC produces organizational charts, if          January 26, 2018   February 2, 2018
12     any
13     Walsin Defendants complete production           January 31, 2018   Walsin USA does not have any
       of transactional data                                              transactional data.
14
                                                                          WTC will meet and confer with
15                                                                        DPPs by February 2, 2018 to
                                                                          determine a mutually agreeable
16                                                                        deadline for production.

17     Parties complete negotiations regarding         February 2, 2018
       custodians
18
       Parties complete negotiations regarding         February 9, 2018   See Walsin USA Discovery Plan
19     search terms                                                       at 9.
                                                                             Walsin USA will complete
20                                                                            negotiations of custodians
                                                                              and search terms by February
21                                                                            5, 2018.
22                                                                           WTC will meet and confer
                                                                              regarding custodians by
23                                                                            February 2, 2018 and will
                                                                              complete the selection of
24                                                                            production custodians by
                                                                              February 16.
25

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     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                           -10-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 12 of 16



 1
                                                                           Walsin Defendants’ Proposed
 2                                                      DPPs’ Proposed
                            Event                                               Dates (if different)
                                                            Date
 3

 4
                                                                              WTC will meet and confer
                                                                               regarding search terms15 by
 5                                                                             February 26 and will
                                                                               complete the search term
 6                                                                             negotiations by March 16.
 7
       Parties submit any disputes regarding           February 13, 2018   See Walsin USA Discovery Plan
 8     document custodians or search terms to                              at 9.
       the Court
                                                                              DPPs and Walsin USA
 9                                                                             submit disputes regarding
                                                                               search terms to the Court by
10                                                                             February 15, 2018.
11
                                                                              DPPs and WTC submit
12                                                                             disputes regarding search
                                                                               terms to the Court by March
13                                                                             21.

14     Walsin Defendants begin rolling                 February 20, 2018   See Walsin USA Discovery Plan
       productions from custodians                                         at 10.
15                                                                            Walsin USA begins rolling
                                                                               productions from custodians
16                                                                             on February 26, 2018.
17
                                                                              WTC begins rolling
18                                                                             productions from custodians
                                                                               on March 19, 2018.
19
       Walsin Defendants complete productions          February 20, 2018   See Walsin USA Discovery Plan
20     from “centralized” files                                            at 10.
                                                                              Walsin USA completes
21                                                                             production from centralized
                                                                               files on March 5, 2018.
22

23                                                                            WTC completes production
                                                                               from centralized files on
24                                                                             February 29, 2018

25

26
          15
27          The parties should agree on custodians prior to negotiating search terms. This will allow WTC
     to test the search terms across the custodial data. Unless WTC can test the terms on the data, WTC
28   will not be able to evaluate the burden associated with DPPs’ search term proposal.
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                           -11-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 13 of 16



 1
                                                                           Walsin Defendants’ Proposed
 2                                                      DPPs’ Proposed
                            Event                                               Dates (if different)
                                                            Date
 3
       Walsin Defendants complete rolling              March 23, 2018      See Walsin USA Discovery Plan
 4     productions from custodians                                         at 10.

 5                                                                            Walsin USA completes
                                                                               rolling productions from
                                                                               custodians on March 23,
 6                                                                             2018.
 7
                                                                              WTC completes rolling
                                                                               productions from custodians
 8                                                                             on April 30.
 9
       Walsin Defendants produce privilege logs        March 23, 2018      See Walsin USA Discovery Plan
10     for custodians                                                      at 10.
                                                                              Walsin USA produces
11                                                                             privilege logs on April 6,
                                                                               2018.
12
                                                                              WTC produces privilege logs
13                                                                             on May 18, 2018.

14     Dates identified in October 17, 2017                                Other than the dates for motions
       stipulated schedule (ECF No. 336,                                   to dismiss, which do not apply to
15     ordered ECF No. 347) should apply to the                            Walsin Defendants, Walsin
       Walsin Defendants. As discussed in ECF                              Defendants agree to follow the
16     No. 347, the remaining schedule will be                             dates set in ECF No. 347.
       negotiated at a later date, targeting a trial
17     date in late 2019 or early 2020.

18
     B.        Discovery limitations
19
               1.       DPPs’ Statement
20
               Certain of the stipulated discovery orders are non-controversial and thus should be applied
21
     quickly to the Walsin Defendants. These include: the Stipulated Protective Order (ECF Nos. 121,
22
     122), the Stipulated Order Concerning Expert Discovery (ECF Nos. 213, 215), and the Order re
23
     Stipulation Regarding Production of Electronically Stored Information and Hard Copy Documents
24
     (ECF Nos. 249, 252). DPPs will work with the Walsin Defendants to present a stipulated order to
25
     the Court so that the Walsin Defendants are included in these orders as soon as possible.
26
               On May 23, 2017, this Court entered the Stipulation And Order Re: Discovery Limits
27
     Pursuant to Fed. R. Civ. P. 26(f). See ECF No. 308 (granting ECF No. 307, Stipulation re Discovery
28
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                           -12-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 14 of 16



 1   Limits). That stipulated order addressed limits on interrogatories pursuant to Fed. R. Civ. P. 33(a),

 2   individual depositions pursuant to Fed. R. Civ. P. 30(b)(1), depositions pursuant to Fed. R. Civ. P.

 3   30(b)(6), departing employee lists, service by e-mail, and modification of any limits. DPPs believe

 4   that they have reached agreement with the Walsin Defendants that DPPs may serve the same 35 non-

 5   duplicative interrogatories on the Walsin Defendants that they serve on the Kamaya Defendants, and

 6   that the Walsin Defendants and Kamaya defendants will answer those interrogatories independently.

 7   DPPs do not need to serve the same interrogatories on the Walsin Defendants and Kamaya defendant

 8   at the same time. Furthermore, DPPs belief that the deposition limits that apply to the Kamaya

 9   defendants should be extended to include the Walsin Defendants as well. At this time, DPPs do not

10   require additional interrogatories, depositions, or deposition hours beyond those previously allotted

11   for the Kamaya defendants (as described in Sections A, B, and C of the stipulated order). However,

12   DPPs reserve the right to ask the Court for additional interrogatories, depositions, or deposition time

13   should further discovery show that it is necessary.

14             Contrary to Walsin’s argument below, DPPs are not “seek[ing] to create the appearance of a

15   disagreement where none exists.” In fact, DPPs believe they have agreed to what Walsin requests. In

16   the preceding paragraph, DPPs are merely clarifying the meaning the Stipulation And Order Re:

17   Discovery Limits, as applied to the Walsin Defendants, in an attempt to avoid future disputes.

18             2.       Walsin Technology Corporation’s Statement

19             Here, DPPs seek to create the appearance of a disagreement where none exists. During its

20   December 4, 2017 Rule 26(f) conference with DPPs, Walsin USA already proposed entering all of

21   the stipulations identified in DPPs’ statement above: (1) the Stipulated Protective Order (ECF Nos.

22   121, 122); (2) the Stipulation and Order Concerning Expert Discovery (ECF Nos. 213, 215); (3) the

23   Stipulation and order Regarding Production of Electronically Stored Information and Hard Copy

24   Documents (ECF Nos. 249, 252); and (4) the Stipulation and Order re: Discovery Limits Pursuant to

25   Fed. R. Civ. P. 26(f) (the “Discovery Limits Stipulation”) (ECF Nos. 307, 308). WTC repeated the

26   same proposal to DPPs during its Rule 26(f) conference on December 27, 2017. It was Plaintiffs

27   who never responded.

28
     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                       -13-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 15 of 16



 1             Walsin Defendants remain willing to enter the Discovery Limits Stipulation. These

 2   Stipulations were drafted and entered prior to the Walsin Defendants having been named as parties,

 3   and we ask only that the Walsin Defendants be included in the definition of the Kamaya Defendant

 4   family for purposes of the discovery limits. See ECF Nos. 307, 308. Walsin Defendants remain

 5   willing to negotiate a stipulation with DPPs to that effect, and will work with DPPs to get it to the

 6   Court for approval quickly.

 7   DATED: January 10, 2018                           HAGENS BERMAN SOBOL SHAPIRO LLP

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     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                            -14-
     010554-11 1007399V2
          Case 3:15-cv-03820-JD Document 374 Filed 01/10/18 Page 16 of 16



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     JOINT DISCOVERY PLAN - Case No.: 15-cv-03820-JD
                                                            -15-
     010554-11 1007399V2
